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1                           UNITED STATES DISTRICT COURT
2                              DISTRICT OF PUERTO RICO

3    SYLVIA DIFFENDERFER and
4    ROBERT MCCARROLL, on behalf
5    of themselves and as
                                                Civil No. 08-1918 (DRD)
6    representatives of the class
7    herein defined,

8         Plaintiffs,

9         v.

10   RAMON E. GOMEZ-COLON,
11   President of the State Electoral
12   Commission of Puerto Rico, et
13   al.,

14        Defendants.



15                                 ORDER TO SHOW CAUSE
16
17        A Hearing will be held on August 27, 2008, at 9:00 A.M., where

18   Defendants will show cause as to why the remedy prayed for in the

19   Complaint should not be granted.

20        The   court    expects    to   hear   and   receive   all   the   available

21   testimonial and documentary evidence, including any relevant testimony

22   by Defendants.     The court will also look into any other Federal remedy

23   available aside from those specifically pled, under principles of

24   notice pleading, including relief under the Voting Rights Act.

25        Briefs shall be filed by not later than 4:00 P.M. on August 26,

26   2008. This Order will be served to Defendants under Fed. R. Civ. P. 4.

27        IT IS SO ORDERED.

28        San Juan, Puerto Rico, this 20 th day of August, 2008.

29                                            S/José Antonio Fusté
30                                             JOSE ANTONIO FUSTE
31                                         Chief U. S. District Judge
